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                                                          24 Month Cash Flow Pro Forma




                                                          week 1          week 2          week 3          week 4          week 5

Gross Sales                                          $    47,083.56   $   47,201.27   $   47,319.27   $   47,437.57   $   47,556.17

                                   Gross Revenues    $    47,083.56   $   47,201.27   $   47,319.27   $   47,437.57   $   47,556.17
                           Gross Revenues Per Week   $    10,865.44   $   10,892.60   $   10,919.83   $   10,947.13   $   10,974.50


Adjustment: Less Sales Tax/VAT inc. in sales
                                   Net Revenues      $    47,083.56   $   47,201.27   $   47,319.27   $   47,437.57   $   47,556.17
                         Net Revenues Per Week       $    10,865.44   $   10,892.60   $   10,919.83   $   10,947.13   $   10,974.50

COST OF GOODS SOLD
Average Cost of Goods Sold                           $    21,093.26   $   21,093.26   $   21,093.26   $   21,093.26   $   21,093.26

                                            Total CGS $   21,093.26 $     21,093.26 $     21,093.26 $     21,093.26 $     21,093.26
Gross Profit                                          $   25,990.30 $     26,108.01 $     26,226.01 $     26,344.31 $     26,462.91
                                Gross Profit Per Week $    5,997.76 $      6,024.93 $      6,052.16 $      6,079.46 $      6,106.82
                                  Gross Profit Margin           55%             55%             55%             56%             56%



SELLING, GENERAL & ADMINISTRATIVE
EXPENSES (not including Amort. & Dep.)

Variable Expenses
Salaries-Staff                                       $     5,290.00   $    5,290.00   $    5,290.00   $    5,290.00   $    5,290.00
Advertising                                          $       129.50   $      129.50   $      129.50   $      129.50   $      129.50
Royalty Fees Exp                                     $     3,766.69   $    3,776.10   $    3,785.54   $    3,795.01   $    3,804.49
Bank Charges                                         $       274.73   $      274.73   $      274.73   $      274.73   $      274.73
Other Supplies                                       $     3,250.00   $    3,250.00   $    3,250.00   $    3,250.00   $    3,250.00
Taxes-Payroll                                        $     1,895.81   $    1,895.81   $    1,895.81   $    1,895.81   $    1,895.81
                                                     $          -     $         -     $         -     $         -     $         -
Fixed Expenses                                       $          -     $         -     $         -     $         -     $         -
Dues and Subscriptions                               $       318.29   $      318.29   $      318.29   $      318.29   $      318.29
Insurance-Business                                   $       486.50   $      486.50   $      486.50   $      486.50   $      486.50
Outside Services-Professional                        $     3,109.54   $    3,109.54   $    3,109.54   $    3,109.54   $    3,109.54

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                                                         week 1           week 2           week 3           week 4           week 5
Rent-Store                                           $     3,250.00   $     3,250.00   $     3,250.00   $     3,250.00   $     3,250.00
Storage                                              $        27.23   $        27.23   $        27.23   $        27.23   $        27.23
Telephone                                            $       305.60   $       305.60   $       305.60   $       305.60   $       305.60
Travel                                               $       327.48   $       327.48   $       327.48   $       327.48   $       327.48
Utilities                                            $       213.88   $       213.88   $       213.88   $       213.88   $       213.88
                                                     $          -     $          -     $          -     $          -     $          -
Miscellaneous Expenses                               $          -     $          -     $          -     $          -     $          -
Other Expenses (Medical)                             $       236.46   $       236.46   $       236.46   $       236.46   $       236.46

                             Total SG&A Expenses $        22,881.71   $    22,891.12   $    22,900.56   $    22,910.03   $    22,919.51
Weekly Overhead                                  $         5,280.39   $     5,282.57   $     5,284.75   $     5,286.93   $     5,289.12

EBITDA                                               $     3,108.60   $     3,216.89   $     3,325.45   $     3,434.29   $     3,543.39
EBITDA per week                                      $       717.37   $       742.36   $       767.41   $       792.53   $       817.71
Annual Cumulative Net Before Dep, Int & Tax          $     3,108.60   $     6,325.49   $     9,650.94   $    13,085.22   $    16,628.62

Plus:
  Cash Invested (net of commissions)
 Cumulative Investments                                               $          -     $          -     $          -     $          -
  Loans Received/Assumed
 Sale of capital assets
OPERATING CASH BEFORE INT & TAXES                    $     3,108.60   $     3,216.89   $     3,325.45   $     3,434.29   $     3,543.39
ANNUAL CUMULATIVE CASH FLOW                          $     3,108.60   $     6,325.49   $     9,650.94   $    13,085.22   $    16,628.62

Less
 Distributions
 Acquisition of capital assets
 Interest                                            $     2,000.00   $     2,000.00   $     2,000.00   $     2,000.00   $     2,000.00
 Principal Repayment on Loans                        $          -     $          -     $          -     $          -     $          -
 Outstanding Loans                                   $          -     $          -     $          -     $          -     $          -
CHANGE IN OPERATING CASH BEFORE TAXES                $     1,108.60   $     1,216.89   $     1,325.45   $     1,434.29   $     1,543.39
ENDING CASH BALANCE                                  $     1,108.60   $     2,325.49   $     3,650.94   $     5,085.22   $     6,628.62




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                                                          week 6          week 7          week 8          week 9          week 10

Gross Sales                                          $    47,675.06   $   47,794.24   $   47,913.73   $   48,033.51   $    48,153.60

                                   Gross Revenues    $    47,675.06   $   47,794.24   $   47,913.73   $   48,033.51   $    48,153.60
                           Gross Revenues Per Week   $    11,001.94   $   11,029.44   $   11,057.01   $   11,084.66   $    11,112.37


Adjustment: Less Sales Tax/VAT inc. in sales
                                   Net Revenues      $    47,675.06   $   47,794.24   $   47,913.73   $   48,033.51   $    48,153.60
                         Net Revenues Per Week       $    11,001.94   $   11,029.44   $   11,057.01   $   11,084.66   $    11,112.37

COST OF GOODS SOLD
Average Cost of Goods Sold                           $    21,093.26   $   21,093.26   $   21,093.26   $   21,093.26   $    21,093.26

                                            Total CGS $   21,093.26 $     21,093.26 $     21,093.26 $     21,093.26 $      21,093.26
Gross Profit                                          $   26,581.80 $     26,700.98 $     26,820.47 $     26,940.25 $      27,060.34
                                Gross Profit Per Week $    6,134.26 $      6,161.77 $      6,189.34 $      6,216.98 $       6,244.69
                                  Gross Profit Margin           56%             56%             56%             56%              56%



SELLING, GENERAL & ADMINISTRATIVE
EXPENSES (not including Amort. & Dep.)

Variable Expenses
Salaries-Staff                                       $     5,290.00   $    5,290.00   $    5,290.00   $    5,290.00   $     5,290.00
Advertising                                          $       129.50   $      129.50   $      129.50   $      129.50   $       129.50
Royalty Fees Exp                                     $     3,814.00   $    3,823.54   $    3,833.10   $    3,842.68   $     3,852.29
Bank Charges                                         $       274.73   $      274.73   $      274.73   $      274.73   $       274.73
Other Supplies                                       $     3,250.00   $    3,250.00   $    3,250.00   $    3,250.00   $     3,250.00
Taxes-Payroll                                        $     1,895.81   $    1,895.81   $    1,895.81   $    1,895.81   $     1,895.81
                                                     $          -     $         -     $         -     $         -     $          -
Fixed Expenses                                       $          -     $         -     $         -     $         -     $          -
Dues and Subscriptions                               $       318.29   $      318.29   $      318.29   $      318.29   $       318.29
Insurance-Business                                   $       486.50   $      486.50   $      486.50   $      486.50   $       486.50
Outside Services-Professional                        $     3,109.54   $    3,109.54   $    3,109.54   $    3,109.54   $     3,109.54

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                                                         week 6           week 7           week 8           week 9           week 10
Rent-Store                                           $     3,250.00   $     3,250.00   $     3,250.00   $     3,250.00   $     3,250.00
Storage                                              $        27.23   $        27.23   $        27.23   $        27.23   $        27.23
Telephone                                            $       305.60   $       305.60   $       305.60   $       305.60   $       305.60
Travel                                               $       327.48   $       327.48   $       327.48   $       327.48   $       327.48
Utilities                                            $       213.88   $       213.88   $       213.88   $       213.88   $       213.88
                                                     $          -     $          -     $          -     $          -     $          -
Miscellaneous Expenses                               $          -     $          -     $          -     $          -     $          -
Other Expenses (Medical)                             $       236.46   $       236.46   $       236.46   $       236.46   $       236.46

                             Total SG&A Expenses $        22,929.03   $    22,938.56   $    22,948.12   $    22,957.70   $    22,967.31
Weekly Overhead                                  $         5,291.31   $     5,293.51   $     5,295.72   $     5,297.93   $     5,300.15

EBITDA                                               $     3,652.77   $     3,762.42   $     3,872.35   $     3,982.55   $     4,093.03
EBITDA per week                                      $       842.95   $       868.25   $       893.62   $       919.05   $       944.55
Annual Cumulative Net Before Dep, Int & Tax          $    20,281.39   $    24,043.81   $    27,916.16   $    31,898.72   $    35,991.75

Plus:
  Cash Invested (net of commissions)
 Cumulative Investments                              $          -     $          -     $          -     $          -     $          -
  Loans Received/Assumed
 Sale of capital assets
OPERATING CASH BEFORE INT & TAXES                    $     3,652.77   $     3,762.42   $     3,872.35   $     3,982.55   $     4,093.03
ANNUAL CUMULATIVE CASH FLOW                          $    20,281.39   $    24,043.81   $    27,916.16   $    31,898.72   $    35,991.75

Less
 Distributions
 Acquisition of capital assets
 Interest                                            $     2,000.00   $     2,000.00   $     2,000.00   $     2,000.00   $     2,000.00
 Principal Repayment on Loans                        $          -     $          -     $          -     $          -     $          -
 Outstanding Loans                                   $          -     $          -     $          -     $          -     $          -
CHANGE IN OPERATING CASH BEFORE TAXES                $     1,652.77   $     1,762.42   $     1,872.35   $     1,982.55   $     2,093.03
ENDING CASH BALANCE                                  $     8,281.39   $    10,043.81   $    11,916.16   $    13,898.72   $    15,991.75




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Gross Sales

                                   Gross Revenues
                           Gross Revenues Per Week


Adjustment: Less Sales Tax/VAT inc. in sales
                                   Net Revenues
                         Net Revenues Per Week

COST OF GOODS SOLD
Average Cost of Goods Sold

                                           Total CGS
Gross Profit
                                Gross Profit Per Week
                                  Gross Profit Margin



SELLING, GENERAL & ADMINISTRATIVE
EXPENSES (not including Amort. & Dep.)

Variable Expenses
Salaries-Staff
Advertising
Royalty Fees Exp
Bank Charges
Other Supplies
Taxes-Payroll

Fixed Expenses
Dues and Subscriptions
Insurance-Business
Outside Services-Professional

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Rent-Store
Storage
Telephone
Travel
Utilities

Miscellaneous Expenses
Other Expenses (Medical)

                             Total SG&A Expenses
Weekly Overhead

EBITDA
EBITDA per week
Annual Cumulative Net Before Dep, Int & Tax

Plus:
  Cash Invested (net of commissions)
 Cumulative Investments
  Loans Received/Assumed
 Sale of capital assets
OPERATING CASH BEFORE INT & TAXES
ANNUAL CUMULATIVE CASH FLOW

Less
 Distributions
 Acquisition of capital assets
 Interest
 Principal Repayment on Loans
 Outstanding Loans
CHANGE IN OPERATING CASH BEFORE TAXES
ENDING CASH BALANCE




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